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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         PENSACOLA DIVISION
 ALLIANCE LAUNDRY SYSTEMS LLC,

                       Plaintiff,
                                                            Case No. 23-cv-22130
           v.
                                                            (MCR-ZCB)
 TRUDY ADAMS, JOHN “CLAY” WILLIAMS and
 AUTARKIC HOLDINGS, INC. D/B/A
 LAUNDRYLUX,

                       Defendants.


 TRUDY ADAMS, JOHN “CLAY” WILLIAMS,

                       Defendants/Counterclaim
                       Plaintiffs,

           v.

 ALLIANCE LAUNDRY SYSTEMS LLC, GREG
 REESE, MIKE HAND, and SAMANTHA BAKER,

                       Plaintiff/Counterclaim
                       Defendants/ Third Party
                       Defendants.


   ALLIANCE LAUNDRY SYSTEMS LLC’S MOTION TO SEAL ALLIANCE’S
 UNREDACTED RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
               STRIKE AND SUPPORTING EXHIBITS

         Plaintiff Alliance Laundry Systems LLC (“Alliance”), pursuant to Fed. R.

Civ. P. 5.2(d) and (e), Local Rules 5.5(C), hereby moves this Court to file under

seal Alliance’s Response to Defendants’ Motion to Strike the Expert Declaration



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of Mark Lanterman and Exclude Lanterman’s Testimony (“Motion to Strike”)

and supporting documents filed concurrently herewith.

         The grounds for this Motion are as follows:

         1.        Alliance’s Response in Opposition to Defendants’ Motion to Strike

(“Response”) contains sensitive information that should be maintained

confidential and out of the public record, as will be explained in further detail

in the cover email accompanying the service of the sealed documents.

         2.        Further, the allegations raised by Defendants in the Motion to

Strike, ECF No. 155, are unsubstantiated and extremely personal in nature. Mr.

Lanterman is an individual non-party to this case and not a public figure,

warranting sequestration of the information in the Response from public view.

Rossbach v. Rundle, 128 F.Supp.2d 1348, 1352 (S.D. Fla. 2000) (“When the

sensitive information pertains to non-parties who are not public figures, the

balancing of interests in favor of protecting the privacy of the non-parties and

against uninhibited access to the records is strengthened.”).

         3.        Because only a portion of the Response contains the passages

which Alliance is requesting this Court seal, it has filed a redacted version of the

Response on the public docket. The redactions obscure only the portions of the

Response which Alliance requests this Court to seal.



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         4.        Alliance further requests that the unredacted version of the

Declaration of Melinda Giftos and exhibits 4 and 16 through 19 thereto be

permitted to be filed under seal for the same reasons.

         WHEREFORE, Alliance respectfully requests that this Court allow the

unredacted version of Alliance’s Response to Defendants’ Motion to Strike the

Expert Declaration of Mark Lanterman and Exclude Lanterman’s Testimony

and the supporting exhibits discussed above to be filed under seal.


Dated: March 28, 2025

                                    /s/ Melinda S. Giftos
                                    Melinda S. Giftos, Florida Bar No. 0302960
                                    Laura K. Higbee (admitted pro hac vice)
                                    Angela B. Hardin (admitted pro hac vice)
                                    Brendan R. Zee-Cheng (admitted pro hac vice)
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                                   Attorneys for Plaintiff, Alliance Laundry
                                   Systems LLC and Third-Party Defendants, Greg
                                   Reese, Mike Hand and Samantha Baker


              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)
         I certify that this motion and memorandum has 334 words, excluding

the case caption, signature block, and certificate of service, as calculated by

the word processing system used to create this document.

                                                    /s/ Melinda S. Giftos


                            CERTIFICATE OF SERVICE
         I certify that on March 28, 2025, a true and correct copy of the foregoing

was submitted to the Clerk of the Court using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.


                                                    /s/ Melinda S. Giftos




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